       Case 17-15171-pmm                        Doc 72         Filed 08/25/22 Entered 08/25/22 14:04:53                         Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              MATTHEW J KLOIBER


     Debtor 2              MARY ANN V KLOIBER
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          17-15171-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 PNC BANK                                                                   11

 Last 4 digits of any number you use to identify the debtor's account                         5   3   3   9

 Property Address:                              2016 W PENNSYLVANIA ST
                                                ALLENTOWN, PA 18104




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $          -0-

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $          -0-

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $          -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $          -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $          -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $          -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $          -0-



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     MATTHEW J KLOIBER                                                Case number   (if known)   17-15171-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    08/25/2022


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     MATTHEW J KLOIBER                                           Case number   (if known)   17-15171-PMM
             Name




History Of Payments
Part 2 -
Claim ID Name                      Creditor Type              Date       Check # Posting Description                        Amount

                                                                                               Total for Part 2 - :           0.00




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